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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

IN RE:                                                      :       CASE NO. 18-32106
                                                            :
ERIN ENERGY CORPORATION, et al.,1                           :
                                                            :
        DEBTORs                                             :       CHAPTER 11

                NOTICE OF APPEARANCE AND REQUEST FOR SERVICE

        PLEASE TAKE NOTICE that Glencore Energy UK, Ltd., through its attorneys, the law

firm of CHAFFE McCALL, LLP, enters its appearance in this matter pursuant to Bankruptcy

Rules 2002, 3017, 6007 and 9010 and Sections 102(1), 342 and 1109(b) of the Bankruptcy Code

and requests that all notices given or required to be given in this case and all papers served or

required to be served in this case be given to and served upon the following:

                 IVAN M. RODRIGUEZ
                 CHAFFE MCCALL, LLP
                 State Bar No.: 24058977
                 Federal Bar No. 4566982
                 801 Travis Street, Suite 1910
                 Houston, Texas 77002
                 Telephone: (713) 546-9800
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                 -and-

                 FERNAND L. LAUDUMIEY, IV, (LA Bar #24518)
                 CHAFFE MCCALL, LLP
                 2300 Energy Centre
                 1100 Poydras Street
                 New Orleans, Louisiana 70163-2300
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                 laudumiey@chaffe.com AND bankruptcy@chaffe.com

1
 The last four digits of Erin Energy Corporation’s (“ERN”) federal tax identification number are 9798. The other
Debtors in these cases are: Erin Energy Limited (“EEL”); Erin Energy Kenya Limited (“EEKL”); and Erin
Petroleum Nigeria Limited (“EPNL”). The Debtors’ service address is: 1330 Post Oak Blvd., Suite 2250, Houston,
TX 77056.


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          PLEASE TAKE FURTHER NOTICE that pursuant to Section 1109(b) of the

Bankruptcy Code, the foregoing demand includes not only the notices and papers referred to in

the Rules specified above, but also includes, without limitation, orders and notices of any

application, motions, petitions, pleadings, requests, complaints, demands, disclosure statements,

plans of reorganization, and answering or reply papers whether transmitted or conveyed by mail,

delivery, telephone, telegraph, telex, telecopier or otherwise.

          PLEASE TAKE FURTHER NOTICE that neither this notice nor any later

appearance, pleading claim, or suit shall waive any right (1) to have final orders in non-core

matters entered only after de novo review by a District Judge, (2) to trial by jury in any

proceeding so triable in this case or any case, controversy, or proceeding related to this case, (3)

to have the District Court withdraw the reference in any matter.

DATED: June 12, 2018.


                                                      Respectfully submitted,

                                                      CHAFFE MCCALL, L.L.P.

                                                        /s/ Ivan M. Rodriguez
                                                      IVAN M. RODRIGUEZ
                                                      Attorney in Charge
                                                      State Bar No.: 24058977
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                                                      ATTORNEYS FOR
                                                      GLENCORE ENERGY UK, LTD




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